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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                      Chapter 11

YELLOW CORPORATION, et al.,                                 Case No. 23-11069 (CTG)

                    Debtors.                                (Jointly Administered)




                    ORDER GRANTING MOTION OF DELORES JONES
                      FOR RELIEF FROM THE AUTOMATIC STAY
                PURSUANT TO SECTION 362(d) OF THE BANKRUPTCY CODE

           Upon consideration of the Motion of Delores Jones (“Movant”) for Relief from the

Automatic Stay Pursuant to Section 362(d) of the Bankruptcy Code (the “Motion”), it is hereby

ORDERED that:

           1.       The Motion is Granted.

           2.        Movant is granted relief from the Automatic Stay for cause shown and is

permitted to proceed with and prosecute the State Court Action1 against the Debtors and any

other individuals or entities, including any subsequent appeals, and may enforce any judgment,

including any alternative dispute resolution award or settlement obtained in the State Court

Action against the Debtors and/or the Debtors’ applicable insurance.

           3.       This Order shall become effective immediately upon entry by the Court and is not

subject to the fourteen-day stay provided in Rule 4001(a)(3) of the Federal Rules of Bankruptcy

Procedure.




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    Capitalized terms not defined herein shall have the meanings ascribed to them in the Motion.

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       4.      This Court shall retain jurisdiction over any and all issues arising from or related

to the implementation and interpretation of this Order.




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